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AO 91 (Rev. 02/09) Criminal Complaint
UNITED STATES DISTRICT COURT adm

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Southern District of Texas

United States of America l \!"‘ il

|SA|AS BERNABE GONZAK'EZ-HERNANDEZ H m
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Case No.

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Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 04/05/2018 in the county of Wa|k€|‘ in the SOUTHERN District of

TEXAS , the defendant violated TITLE 8 U. S. C. § 1324(a)(1)(A)(v)(|)
, an offense described as follows:

 

Conspiring with others knowingly or in reckless disregard of the fact that an alien has come to, entered, or remains in the
United States in violation of |aw, transport, move or attempt to transport or move such alien within the United States by
any means in violation of Tit|e 8 United States Code, Section(s) 1324 (a)(1)(A)(v)(|).

This criminal complaint is based on these facts:
See attached affidavit

m Continued on the attached sheet.

Complainant ’s signature

 

Wi|llam P. Wi|son Special Agent, HS|

Printed name and title

 

Sworn to before me and signed in my presence.

Date; 04/06/2018 z

/ Judge' signature

City and states Houston, Texas GD,V Magi$trate JUdQe
Printed name and title

NosNHof town

 

 

 

 

 

 

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, William P. Wilson, being first duly sworn, depose and state the following:

l. l am a Special Agent with Homeland Security Investigations (HSI). I have been so
employed since 2001. I have training and experience in alien smuggling investigations

2. The information enumerated in the paragraphs below, furnished in support of this
affidavit, is derived from my own observations and the observations of other law enforcement
agents.

3, On April 5, 2018, at approximately 7:05 am, Trooper Art Morgan with the Texas
Department of Public Safety initiated a vehicle stop on a White Toyota Sequoia (TX temporary
license plate 24F0707) for Driving in Left Lane When Not Passing or Where Prohibited. There
were seven (7) passengers inside the vehicle.

4. Homeland Security Investigations (HSI) and Border Patrol Agents (BPA) responded and
determined the driver, identified as Isaias GONZALEZ-HERNANDEZ, is a citizen and national
of Guatemala and is a Lawful Permanent Resident in the United States (U.S.). The seven (7)
vehicle passengers were determined to be citizens and nationals of Guatemala, Honduras or
Mexico, all of whom were illegally present in the U.S. All seven (7) subjects, admitted to
entering the U.S. without inspection in/at a location not designated as an official U.S. Port of
Entry. All seven (7) undocumented aliens (UDAs) were administratively arrested for entering
the U.S. without inspection. All seven (7) UDA’s identified Isaias GONZALEZ-HERNANDEZ
as the driver. They were later transported to the Houston Immigration Service Processing
Centers (SPC) for additional checks and further investigation

5. SA Ricardo Morales read and explained to Isaias GONZALEZ-HERNANDEZ his
Miranda Rights in the Spanish language, witnessed by HSI Special Agent William Wilson, BPA
De La Torre and BPA Paniagua. This interview was recorded. Isaias GONZALEZ-
HERNANDEZ Signed a voluntary waiver of his Miranda Rights and agreed to speak With agents
without an attorney present. BPA De La Torre and SA Morales interviewed GONZALEZ-
HERNANDEZ in the Spanish language lsaias stated he was the driver of the vehicle containing
the seven (7) UDA’s. GONZALEZ-HERNANDEZ also stated he suspected the passengers were
UDAs. He said he was given $800 for expenses to take the UDA’s to the East Coast and an
additional $300 per UDA when he completed the job. GONZALEZ-HERNANDEZ had $766 in
U.S. currency in his wallet.

6. BPA Alex Carrizales interviewed Francisco Miranda-Miranda in the Spanish language
and was Witnessed by SA Daniel Bodiford. Miranda-Miranda identified through a photo lineup,
lsaias GONZALEZ-HERNANDEZ. Francisco Miranda-Miranda stated GONZALEZ-
HERNANDEZ drove him and the other 6 (six) UDAs from a residence to the location where
DPS made the stop.

7. BPA Alex Carrizales interviewed Fabio Cantu-Feliciano in the Spanish language and was
witnessed by SA Daniel Bodiford. Cantu-Feliciano identified through a photo lineup, Isaias

 

 

 

 

 

 

 

 

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GONZALEZ-HERNANDEZ. Fabio Cantu-Feliciano stated GONZALEZ -HERNANDEZ drove
him and the other 6 (six) UDAs from a residence to the location where DPS made the stop.

8. BPA Johnny Paniagua interviewed Marco Antonio Aguilar-Luna in the Spanish
language, witnessed by SA Jeff Whitfield. Aguilar-Luna also identified through a photo lineup,
lsaias GONZALEZ-HERNANDEZ. Marco Antonio Aguilar-Luna stated GONZALEZ-
HERNANDEZ drove him and the other 6 (six) UDAs from a residence to the location where
DPS made the stop.

09. BPA Ruben De La Torre interviewed Jose Carmelo Osorio-Martinez in the Spanish
language, Witnessed by SA Ricardo Morales. Jose Carmelo Osorio-Martinez identified through a
photo lineup, lsaias GONZALEZ-HERNANDEZ. Jose Carmelo Osorio-Martinez stated
GONZALEZ-HERNANDEZ drove him and the other 6 (six) UDAs from a residence to the
location where DPS made the stop.

l(). BPA Alex Carrizales interviewed Elvira Perez-Ramirez in the Spanish language,
witnessed by SA Daniel Bodiford. Perez-Ramirez identified through a photo lineup, Isaias
GONZALEZ-HERNANDEZ. Elvira Perez-Ramirez stated GONZALEZ-HERNANDEZ drove
him and the other 6 (six) UDAs from a residence to the location where DP_S made the stop.

ll. SA Ricardo Morales interviewed Cindy Molina-Ramos in the Spanish language, witnessed
by SA Eugene Emge. Molina-Ramos identified through a photo lineup, lsaias GONZALEZ-
HERNANDEZ. Cindy Molina-Ramos stated GONZALEZ-HERNANDEZ drove her and the
other 6 (six) UDAs to the location where DPS made the stop.

12. Based upon the evidence gathered from the investigation, l believe there is probable
cause to believe that Isaias GONZALEZ-HERNANDEZ violated Title 8, United States Code,
Section 1324 (a) (l) (A) (v) (I), conspiracy to transport illegal aliens.

/¢////z/

Special Agent William P. Wilson
Homeland Security Investigations

 

Houston, Texas

A
Sworn and subscribed before me at Houston, Texas on April g , 2018 and I find probable

cause.
Z"?
/ y

- Unite tates gistrate Judge

NANCY JOHNSON

